                     UNITED STATES BANKRUPTCY COURT
                      EASTERN DISTRICT OF MICHIGAN

In the Matter of:

ARK LABORATORY, LLC,                                   Case No. 23-43403-mlo
                                                       Chapter 11
            Debtor.                                    Hon, Maria L. Oxholm
____________________________________/


                    FILING OF BUDGET FOR FINAL ORDER
                    AUTHORIZING USE OF CASH COLLATERAL
                    AND GRANTING ADEQUATE PROTECTION



      Debtor states,

      1.     Attached is the budget that Debtor and Auxo have agreed to for
purposes of the FINAL ORDER AUTHORIZING USE OF CASH COLLATERAL
AND GRANTING ADEQUATE PROTECTION.



Respectfully submitted,
/s/ Robert Bassel
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                                                               Helix Diagnostics
                                                   6-Week Cash Flow Budget (6/5/23 to 7/14/23)
                                                                Revised: 6/8/23

                                                      1                2                 3                 4                5                  6
             Description                          9-Jun-23         16-Jun-23         23-Jun-23         30-Jun-23         7-Jul-23         14-Jul-23         Cumulative Cash Flow
                                                    Proj.            Proj.             Proj.             Proj.             Proj.            Proj.                   Proj.

                                                                      REVENUES
           Gross Revenues
            Non Covid PCR                     $     203,395    $      203,395    $      203,395    $      206,937    $     228,188    $      228,188    $ 1,273,497      38.6%
                Covid                                 9,333             9,333             9,333             9,333            9,032             9,032         55,398       1.7%
              Toxicology                            225,827           225,827           225,827           225,827          281,379           281,379      1,466,064      44.4%
                Blood                                77,590            77,590            77,590            77,590           65,821            65,821        442,001      13.4%
                Other                                12,259            12,259            12,259            12,259            8,462             8,462         65,960       2.0%
           Gross Revenues                     $     528,404    $      528,404    $      528,404    $      531,945    $     592,882    $      592,882    $ 3,302,920      100.0%

   Reimbursement Rate Adjustments                   (158,521)        (158,521)         (158,521)         (159,584)        (177,865)         (177,865)      (990,876)     -30.0%
           Net Revenues                       $      369,883 $        369,883 $         369,883 $         372,362 $        415,017 $         415,017    $ 2,312,044       70.0%
             Receipts
       Legacy Claim Reciepts                          8,160             8,160             8,160             8,160            8,160             8,160         48,957      1.5%
       Current Claim Receipts                       371,701           387,191           382,654           375,319          363,193           351,067      2,231,125      67.6%
           Cash Receipts                      $     379,860    $      395,350    $      390,813    $      383,479    $     371,353    $      359,227    $ 2,280,082      69.0%

        Payroll Disbursements
              Hourly Wages                          137,679                 -           137,679                 -          137,679                 -    $     413,036    12.5%
              Salary Wages                                -            99,490                 -            99,490                -            99,490          298,471    9.0%
     Employer Taxes - Post-petition                  10,532             6,516            10,532             6,516           10,532             6,516           51,147    1.5%
             Car Allowance                                -             3,500             2,000                 -                -             3,500            9,000    0.3%
Employee of the Month Bonus- Grossed up                                                                                        733               733            1,466    0.0%
        Payroll Disbursements                 $     148,211    $      109,507    $      150,211    $      106,007    $     148,944    $      110,240    $     773,120    23.4%

      Non-Payroll Disbursements
             Credit Card Fees                           290               302               299               293              284               275            1,742    0.1%
               Bank Charges                               -                 -                 -                 -            2,888                 -            2,888     0.1%
                Courier Fee                          19,077            19,077            19,077            19,077           20,112            20,112          116,532     3.5%
         Marketing Fees (1099)                       37,500            37,500            37,500            37,500           37,500            37,500          225,000     6.8%
                Fuel/Mileage                          2,127             2,127             2,127             2,127            2,127             2,127           12,762    0.4%
          Dues & Subscriptions                            -                 -               418                 -                -                 -              418     0.0%
              Workers Comp                                -                 -                 -            12,143                -                 -           12,143    0.4%
           Insurance - Liability                          -                 -                 -             7,160                -                 -            7,160    0.2%
      Insurance - Employee Portion                   (4,708)           (2,273)           (4,708)           (2,273)          (4,708)           (2,273)         (20,944)   -0.6%
            Insurance - Health                           94                 -                94            43,911               94                 -           44,193    1.3%
   Insurance - Life/AD&D/Dental/Vision                    -                 -                 -                 -            7,461                 -            7,461     0.2%
              Insurance - Life                            -                 -                 -                 -              811                 -              811     0.0%
          Lab Fees - McLaren**                       13,035            13,035            13,035            13,035           13,035            13,035           78,210     2.4%
        Debtor & Committee Legal                     25,000            25,000            25,000            25,000           25,000            25,000          150,000     4.5%
               IT Consulting                              -                 -                 -                 -            4,250                 -            4,250     0.1%
                Compliance                                -                 -                 -               708            1,500                 -            2,208     0.1%
           Outside Consulting                        10,000            10,000            10,000            10,000           10,000            10,000           60,000     1.8%
     Licenses & Fees - Infrastructure                   169             1,060               940                78              353               339            2,939    0.1%
 Licenses & Fees - Business Operations                  962             2,300               418             2,685              655             2,607            9,627    0.3%
    Licenses & Fees - Lab Operations                  8,265                 -             4,400             1,900           29,620                 -           44,185     1.3%
             Employee Meals                              92                92                92                92               92                92              554     0.0%
               Medical Billing                       21,463            22,315            22,066            21,662           20,996            20,329          128,832     3.9%
             Office Expenses                            100               550             1,043               750              100               500            3,043     0.1%
           Medical Directorship                           -                 -                 -             3,000                -                 -            3,000     0.1%
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                                                                       Helix Diagnostics
                                                           6-Week Cash Flow Budget (6/5/23 to 7/14/23)
                                                                        Revised: 6/8/23

                                                              1               2                  3                 4               5                 6
                         Description                      9-Jun-23        16-Jun-23          23-Jun-23         30-Jun-23       7-Jul-23         14-Jul-23        Cumulative Cash Flow
                                                            Proj.           Proj.              Proj.             Proj.           Proj.            Proj.                  Proj.
                       Rent or Lease                              -               355                 -                 -          47,871           11,113          59,339     1.8%
                     Equipment Lease                          1,861               488             2,711             1,043            1,445           1,206           8,754     0.3%
                   Repair & Maintenance                       3,639           39,630              1,831             1,451          18,368            5,887          70,806     2.1%
                        Payroll Fees                              -                 -             3,300                 -                -                -          3,300     0.1%
               Shipping and Delivery Expense                  1,528             1,528             1,528             1,528            1,610           1,610           9,332     0.3%
                          Supplies                           65,471           58,889             56,812            53,506          51,229           69,000         354,908     10.7%
                         Telephone                            1,250               377                 -                 -                -           1,627           3,253     0.1%
                           Travel                             1,062             1,062             1,062             1,062            1,062           1,062           6,369     0.2%
                           Utilities                              -             6,600                25                 -                -           1,899           8,524     0.3%
                          Uniforms                              300                 -               300                 -              300                -            900     0.0%
                    Waste Management                              -                 -                 -                 -            2,618                -          2,618     0.1%
                      US Trustee Fees                             -                 -            22,800                 -                -           6,400          29,200     0.9%
                      Expense Reports                             -                 -                 -                 -                -                -              -     0.0%
                Non-Payroll Disbursements             $     208,577     $    240,014     $      222,169    $      257,438    $    296,671     $    229,445     $ 1,454,314     44.0%

                    Disbursement Summary
                            Payroll                   $     148,211     $    109,507     $      150,211    $      106,007    $    148,944     $    110,240     $   773,120    23.4%
                          Non-Payroll                       208,577          240,014            222,169           257,438         296,671          229,445       1,454,314    44.0%
                    Other Cash Expenditures                       -                -                  -                 -               -                -               -    0.0%
                     Total Disbursements              $     356,788     $    349,521     $      372,380    $      363,445    $    445,615     $    339,685     $ 2,227,434    67.4%


                    Net Cash Flow (Weekly)            $      23,072     $     45,830     $       18,433    $       20,034    $     (74,263) $       19,542
                    Cumulative Cash Flow              $      23,072     $     68,902     $       87,335    $      107,369    $      33,106 $        52,648

                                                      Note** Debtor agrees not to exceed $7500 in current usage of Lab Fees at McLaren, the balance being
                                                      applied to post petition accrued but unpaid lab fees. If debtor exceeds $7500 weekly usage, it will be
                                                      paid the following week. Any additional amount for lab fees will be paid in addition to the weekly
                                                      budgeted amount of $13,035.
Operating Cash
Beginning Balance                                            100,000          123,072           168,902           187,335          207,369          133,106
+ Cash Inflows                                               379,860          395,350           390,813           383,479          371,353          359,227
- Cash Outflows                                             (356,788)        (349,521)         (372,380)         (363,445)        (445,615)        (339,685)
+/- Adjustments
Ending Balance                                              123,072          168,902            187,335           207,369         133,106          152,648
Increase/Decrease                                            23,072           45,830             18,433            20,034         (74,263)          19,542

A/R Rollforward
Beginning A/R                                              7,403,901        7,393,924         7,368,456         7,347,525        7,336,408        7,380,073
+Sales                                                       369,883          369,883           369,883           372,362          415,017          415,017
-Collections                                                (379,860)        (395,350)         (390,813)         (383,479)        (371,353)        (359,227)
+/- Adjustments
Ending A/R                                                 7,393,924        7,368,456         7,347,525         7,336,408        7,380,073        7,435,863
Increase/Decrease                                             (9,978)         (25,468)          (20,931)          (11,117)          43,665           55,791




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                                                                           Helix Diagnostics
                                                               6-Week Cash Flow Budget (6/5/23 to 7/14/23)
                                                                            Revised: 6/8/23

                                                                  1                2               3               4              5                 6
                           Description                        9-Jun-23         16-Jun-23       23-Jun-23       30-Jun-23       7-Jul-23        14-Jul-23       Cumulative Cash Flow
                                                                Proj.            Proj.           Proj.           Proj.           Proj.           Proj.                 Proj.

Supplies
Beginning Supplies                                                 596,096        604,789         606,900         606,934        603,281          590,803
+Purchases (operational)                                            65,471         58,889          56,812          53,506         51,229           69,000
-(Sales * Materials %)                                             (56,778)       (56,778)        (56,778)        (57,159)       (63,707)         (63,707)
+/- Adjustments
Ending Supplies                                                    604,789        606,900         606,934         603,281        590,803          596,096
Increase/Decrease                                                                                                                                                    -

A/P Rollforward
Beginning A/P                                                  7,732,079        7,732,079       7,732,079       7,732,079      7,732,079        7,732,079
+Purchases (operational)                                          65,471           58,889          56,812          53,506         51,229           69,000
-Payments (operational)                                          (65,471)         (58,889)        (56,812)        (53,506)       (51,229)         (69,000)
-Payments (incremental)                                              -                -               -               -              -                -
+/- Adjustments
Ending A/P                                                     7,732,079        7,732,079       7,732,079       7,732,079      7,732,079        7,732,079
Increase/Decrease

Revolver Balance
Beginning Revolver Balance                                     6,379,000        6,379,000       6,379,000       6,379,000      6,379,000        6,379,000
+/- Adjustments                                                      -                -               -               -              -                -
Ending Revolver Balance                                        6,379,000        6,379,000       6,379,000       6,379,000      6,379,000        6,379,000
Increase/Decrease                                                    -                -               -               -              -                -

NOTES:




              EBITDA/Cash Flow Reconciliation

Net Revenues                                                        369,883       369,883         369,883         372,362        415,017          415,017
Payroll Disbursements                                              (148,211)     (109,507)       (150,211)       (106,007)      (148,944)        (110,240)
Non-Payroll Disbursements                                          (208,577)     (240,014)       (222,169)       (257,438)      (296,671)        (229,445)
Other Cash Expenditures                                                   -             -               -               -              -                -
   Cash Flow Operating income before Addbacks                        13,094        20,362          (2,498)          8,917        (30,598)          75,333
Add Backs:
Capital Expenditures                                                      -                -               -               -              -                -
Interest Expense - Line of Credit (Comerica Bank)                         -                -               -               -              -                -
Interest Expense - Business Loan (Peninsula Capital)                      -                -               -               -              -                -
Interest Expense - Equipment Loan                                         -                -               -               -              -                -
Principal Payments - Line of Credit (Comerica Bank)                       -                -               -               -              -                -
Principal Payments - Business Loan (Peninsula Capital)                    -                -               -               -              -                -
Principal Payments - Equipment Loan                                       -                -               -               -              -                -
Consulting Fees                                                           -                -               -               -              -                -
Clear Check Float                                                         -                -               -               -              -                -
Forbearance Fees and Expenses                                             -                -               -               -              -                -
Credit Card Expense                                                       -                -               -               -              -                -
Capital Infusion                                                          -                -               -               -              -                -
Payment on Capital Infusion                                               -                -               -               -              -                -
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                                                                                  Helix Diagnostics
                                                                      6-Week Cash Flow Budget (6/5/23 to 7/14/23)
                                                                                   Revised: 6/8/23

                                                                         1                 2                 3                 4                5               6
                         Description                                 9-Jun-23          16-Jun-23         23-Jun-23         30-Jun-23         7-Jul-23      14-Jul-23     Cumulative Cash Flow
                                                                       Proj.             Proj.             Proj.             Proj.             Proj.         Proj.               Proj.
Payment for Emergency Capital Influx from Senior Employees                   -                  -                 -                 -                -              -
A/P Payment Plan                                                             -                  -                 -                 -                -              -
Incremental Fee Related to Legacy Collections                            1,562              1,563             1,564             1,565            1,566          1,567
   Model Implied Recurring EBITDA                                       14,657             21,925              (933)           10,482          (29,032)        76,900

Adjustments to Reconcile to Cash Flow:
Deduct:
Capital Expenditures                                                          -                 -                 -                 -                -              -
Interest Expense - Line of Credit (Comerica Bank)                             -                 -                 -                 -                -              -
Interest Expense - Business Loan (Peninsula Capital)                          -                 -                 -                 -                -              -
Interest Expense - Equipment Loan                                             -                 -                 -                 -                -              -
Principal Payments - Line of Credit (Comerica Bank)                           -                 -                 -                 -                -              -
Principal Payments - Business Loan (Peninsula Capital)                        -                 -                 -                 -                -              -
Principal Payments - Equipment Loan                                           -                 -                 -                 -                -              -
Consulting Fees                                                               -                 -                 -                 -                -              -
Clear Check Float                                                             -                 -                 -                 -                -              -
Forbearance Fees and Expenses                                                 -                 -                 -                 -                -              -
Credit Card Expense                                                           -                 -                 -                 -                -              -
Capital Infusion                                                              -                 -                 -                 -                -              -
Payment on Capital Infusion                                                   -                 -                 -                 -                -              -
Payment for Emergency Capital Influx from Senior Employees                    -                 -                 -                 -                -              -
A/P Payment Plan                                                              -                 -                 -                 -                -              -
Incremental Fee Related to Legacy Collections                            (1,562)           (1,563)           (1,564)           (1,565)          (1,566)        (1,567)
Net Revenues                                                           (369,883)         (369,883)         (369,883)         (372,362)        (415,017)      (415,017)

Add:
Receipts                                                               379,860            395,350           390,813           383,479          371,353        359,227

                                                                        23,072             45,830            18,433            20,034          (74,263)        19,542
Cash Flow                                                               23,072             45,830            18,433            20,034          (74,263)        19,542
Difference                                                       $           -     $            -    $            -    $            -    $           - $            -




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